                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:20-CV-00054-RJC-DSC


 LISA ANTOINE,                                 )
                                               )
                  Plaintiff,                   )
                                               )
 v.                                            )                   ORDER
                                               )
 IVY AT GASTONIA LLC,                          )
                                               )
                 Defendant.                    )



       THIS MATTER is before the Court on the “Amended Motion for Admission Pro Hac

Vice and Affidavit [for Lisa Kuhlman]” (document # 16) and the “Motion to Extend Time to

Respond to Plaintiff’s Memorandum for the Court to Intervene to Enforce Settlement

Agreement…” (document #17) filed November 4, 2020. For the reasons set forth therein, the

Motions will be granted. Defendant’s response to Plaintiff’s Memorandum will be due on or

before November 12, 2020.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Robert J. Conrad, Jr.


       SO ORDERED.

                                    Signed: November 5, 2020




      Case 3:20-cv-00054-RJC-DSC Document 18 Filed 11/05/20 Page 1 of 1
